      Case: 1:20-cv-00478 Document #: 30 Filed: 02/28/20 Page 1 of 5 PageID #:86




                      IN THE UNITED STATES DISTRICT COURT FOR THE
                             NORTHERN DISTRICT OF ILLINOIS

    IRENE SIMMONS,                                   )
                                                     )
                 Plaintiff,                          )
                                                     )
                 v.                                  )
                                                     )
    CITY OF CHICAGO; CHICAGO POLICE                  ) No. 20 CV 478
    OFFICERS DAVID SALGADO, XAVIER                   )
    ELIZONDO,                                        )
    ROBERTO RAMIREZ, RICHARD                         )
    MOSTOWSKI, LISA TORRES, ARNOLDO                  )
    LUEVANO, MARCOS PEREZ, and                       ) JURY TRIAL DEMANDED
    UNKNOWN OFFICERS,                                )
                                                     )
                                                     )
                 Defendants.                         )
                                                     )


                      PLAINTIFF’S RESPONSE TO DEFENDANT SALGADO’S
                              MOTION TO STAY PROCEEDINGS

        Plaintiff, by and through her attorneys, Loevy & Loevy, file this response objecting to

Defendant Salgado’s motion to stay the proceedings, stating as follows:

        Defendants Salgado and Elizondo were recently convicted in federal court on corruption

related charges. Their motions for new trial were denied and they are awaiting sentencing.

Defendant Salgado has moved to stay these civil proceedings for an unspecified amount of

time1—which he only describes as until “full and complete resolution of the Criminal Case.”

Dkt. 27, at 1.




1
 Defendant Salgado filed a similar motion in the case of Cruz v. City of Chicago, No. 20 CV
250. The complaint therein was filed on the same day, by the same undersigned attorneys, and is
assigned to Judge Kness. Plaintiffs in Cruz filed a similar response to the motion to stay.
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     Case: 1:20-cv-00478 Document #: 30 Filed: 02/28/20 Page 2 of 5 PageID #:87




        The crux of Defendant Salgado’s motion is that his criminal case involves “the same

subject matter as the criminal investigation,” which is a crucial factor in deciding whether a stay

should be granted in these circumstances. Cruz v. County of DuPage, 1997WL 161683 (N.D. Ill.

June 27, 1997) at *2. Defendant Salgado notes that absent a stay in these circumstances, a

defendant is put in the untenable situation of choosing between preserving the right against self-

incrimination or fully defending against the civil action, Dkt. 27, at 2, and it is true that, despite

stays being “the exception, not the rule,” in those situations, courts have generally agreed that a

stay is appropriate. See, e.g., Estate of Swayzer v. Armor Correctional Health Services, Inc., No.

16-CV-1703, 2018 WL 1535953, *2-3 (E.D. Wis., Mar. 29, 2018) (citing cases).

        However, this case does not involve the same subject matter as the criminal case.

Defendant Salgado was not convicted for any criminal conduct related to Plaintiff; Plaintiff did

not testify as Rule 404(b) witnesses or otherwise; Plaintiff is not listed as a witness at Defendant

Salgado’s sentencing hearing. Accordingly, it is squarely not the same subject matter. See Estate

of Swayzer, 2018 WL 1535953, *2-3 (E.D.WI, March 29, 2018) (distinguishing cases where “the

victim of the crime concurrently pursues a civil action for injuries resulting from the criminal

conduct” from the case therein, where the defendant had pending criminal charges related to his

actions as a correctional officer that did not squarely involve the plaintiff’s factual allegations);

B.A. v. Bohlmann, No. 09-CV-346-BBC, 2009 WL 3270124, at *3 (W.D. Wis. Oct. 8, 2009)

(denying a stay because “none of the plaintiffs in this case are complainants in the pending

criminal case;” the fact that “they involve ‘similar allegations’” was insufficient to grant a stay).

        Plaintiff agrees that the allegations made by them are “similar” and “related” to the facts

underlying Defendant Salgado’s criminal conviction. There is no question that at some point

during discovery in this matter, Plaintiff intends to inquire of Defendant Salgado about facts



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     Case: 1:20-cv-00478 Document #: 30 Filed: 02/28/20 Page 3 of 5 PageID #:88




underlying his criminal conviction. Plaintiff agrees to delay questioning on these topics for an

appropriate amount of time to ensure that Defendant Salgado is not placed in a position of having

to choose between defending against those issues or his constitutional rights. Plaintiff’s counsel

has no doubt that the parties can communicate and confer on these issues as discovery moves

forward to resolve any issues that arise. And if there comes a point where the parties cannot

reach an agreement on discovery disputes, this Court can intervene, and even, if needed, revisit

the question of whether a stay is, in fact, appropriate.

        But given that Plaintiff’s allegations play no role in Defendant Salgado’s criminal case,

Plaintiffs certainly should be allowed to inquire of Defendant Salgado about their specific

allegations. Defendant Salgado points to nothing to indicate why, after “full and complete

resolution of the criminal case,” he will be in any different position related to specific inquires

about Plaintiff’s allegations. Indeed, the very fact that Defendant Salgado gives no specific

timetable to lift the proposed stay is telling. He is already convicted and his motion for new trial

has been denied. Is Defendant Salgado suggesting that his appeal is likely to be successful? If

that proves to be the case, does that mean this case must be stayed pending the completion of

Defendant Salgado’s re-trial, and the potential appeal (if convicted) of that re-trial? If Defendant

Salgado is suggesting that his appeal is unlikely to be successful, then why should there be a stay

at all? And if it is unsuccessful, does the stay continue through any potential appeal to the U.S.

Supreme Court or any potential collateral pleadings filed by Defendant Salgado?

        Grappling with these questions of how long a stay should remain intact may be

appropriate when the civil case involves the “same subject matter.” But it is not appropriate

where, as here, it does not. In those instances, plaintiffs’ right to their day in court, the

adjudication of their issues, the fear of fading memories or the death or disappearance of



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     Case: 1:20-cv-00478 Document #: 30 Filed: 02/28/20 Page 4 of 5 PageID #:89




witnesses as time passes become paramount, and public interest favors denial of the stay. See

B.A., 2009 WL 3270124, at *2

       WHEREFORE, Plaintiffs respectfully request that this Court deny Defendant Salgado’s

motion for a stay and order this litigation and discovery to proceed.

                                                     Respectfully submitted,


                                                     /s/ Joshua Tepfer
                                                     One of Plaintiffs’ Attorneys



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     Case: 1:20-cv-00478 Document #: 30 Filed: 02/28/20 Page 5 of 5 PageID #:90




                                   CERTIFICATE OF SERVICE

          I, Joshua Tepfer, an attorney, hereby certify that on February 28, 2020, I caused the

foregoing to be filed using the Court’s CM/ECF system, which effected service on all counsel of

record.



                                                       Respectfully submitted,

                                                       /s/ Joshua Tepfer
                                                       One of the Attorneys for Plaintiff




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